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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

 RowVaughn Wells,

                         Plaintiff,
         v.                                           Case No. 2:23-CV-02224

 The City of Memphis et al.,

                          Defendants.


 PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO THE
            CITY OF MEMPHIS’S MOTION TO COMPEL (ECF 383)

       Plaintiff, through her undersigned counsel, pursuant to Fed. R. Civ. P. 6(b)(1)(A), submits

this motion for extension of time to file her response in opposition to Defendant City of Memphis’s

Motion to Compel (ECF 383). No Defendant has voiced any objection to the extension requested

herein. In support of her motion, Plaintiff states as follows:

       1.      On April 10, 2025, the City filed a Motion to Compel Production of Documents

Pursuant to City’s Subpoena Duces Tecum Propounded to Rodeny Wells, Keyana Dixon, and

Lenge Dupree. (ECF 383). Plaintiff’s response brief is currently due April 24.

       2.      Plaintiff’s counsel has been working diligently to prepare Plaintiff’s response brief.

However, due to multiple obligations in this litigation and in counsel’s other matters, including an

out-of-state deposition in this case on April 14 and an all-day sentencing hearing in another matter

on April 23, counsel requires additional time to complete Plaintiff’s response to the City’s motion.

       3.      Plaintiff respectfully requests an additional 7 days, to and including May 1, 2025,

to file her response.




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       4.        This request is made in good faith and not for purposes of delay. The requested

extension will not cause prejudice to any party.

       5.        Plaintiff respectfully submits that, for the foregoing reasons, good cause supports

her request for a seven-day extension of time to file her response.

       6.        Plaintiff conferred via e-mail with all Defendants regarding the relief requested in

this motion. Defendants Michelle Whitaker and Robert Long responded that they have no

objection. The remaining defendants have not responded as of this filing. No Defendant has voiced

any objection.

       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this Court

enter an order extending the time for Plaintiff to file her response in opposition to the Defendant

City of Memphis’s Motion to Compel (ECF 383) by seven days, to and including May 1, 2025.



Dated: April 21, 2025                          Respectfully submitted,

                                               /s/ Joshua M. Levin
                                               Antonio M. Romanucci* (Ill. Bar No. 6190290)
                                               Sarah Raisch* (Ill. Bar No. 6305374)
                                               Joshua M. Levin* (Ill. Bar No. 6320993)
                                               Stephen H. Weil* (Ill. Bar No. 6291026)
                                               Sam Harton* (Ill. Bar No. 6342112)
                                               Colton Johnson Taylor* (Ill. Bar No. 6349356)
                                               ROMANUCCI & BLANDIN, LLC
                                               321 N. Clark St., Ste. 900
                                               Chicago, IL 60654
                                               P: (312) 458-1000
                                               aromanucci@rblaw.net
                                               sraisch@rblaw.net
                                               jlevin@rblaw.net
                                               sweil@rblaw.net
                                               sharton@rblaw.net
                                               cjohnson@rblaw.net

                                               David L. Mendelson (Tenn. Bar No. 016812)
                                               Benjamin Wachtel (Tenn. Bar No. 037986)

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                               MENDELSON LAW FIRM
                               799 Estate Place
                               Memphis, TN 38187
                               +1 (901) 763-2500 (ext. 103), Telephone
                               +1 (901) 763-2525, Facsimile
                               dm@mendelsonfirm.com
                               bw@mendelsonfirm.com

                               Brooke Cluse* (Tex. Bar No. 24123034)
                               BEN CRUMP LAW, PLLC
                               717 D Street N.W., Suite 310
                               Washington, D.C. 20004
                               +1 (337) 501-8356 (Cluse), Telephone
                               brooke@bencrump.com

                               Attorneys for Plaintiff

                               * Admission pro hac vice




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                           CERTIFICATE OF CONSULTATION

       Plaintiff conferred via e-mail with all Defendants regarding the relief requested in this

motion. Defendants Michelle Whitaker and Robert Long responded that they have no objection.

The remaining defendants have not responded as of this filing.

                                                           /s/ Joshua M. Levin




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